	NO. 07-12-0073-CV

	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	JUNE 5, 2012
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	Estate of LOZELL KEETER, Deceased
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	FROM THE 110th DISTRICT COURT OF FLOYD COUNTY;

	NO. 10,306; HON. WILLIAM P. SMITH, PRESIDING
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	MEMORANDUM OPINION
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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Joe Keeter perfected this appeal on February 9, 2012.  The clerk's record was filed on March 26, 2012.  The reporter's record has not been filed because appellant apparently failed to pay or make arrangements to pay for it, as required by Texas Rule of Appellate Procedure 35.3(b)(3).  By letter dated May 18, 2012, we directed appellant to certify to this court, by May 28, 2012, that he had complied with rule of procedure 34.6(b)(1) and 35.3(b)(3).  So too was he informed that failure to meet that deadline would result in the dismissal of his appeal.  To date, this court has not received either the reporter's record or notification that the record has been paid for or that arrangements have been made for payment.  Nor has this court received any request to postpone the dismissal date.  Nor do we have any indication that the appellant is indigent.  Consequently, we dismiss the appeal for want of prosecution.  
						Per Curiam
